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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION



MARK ANTHONY ORTEGA

                           Plaintiff,

             v.                                                   Case No. 5:24-cv-00769-XR

CARLOS HERRERA AND FUNDCUBE INC.
D/B/A FUNDQUBE,

                           Defendants.


                              CLERK’S ENTRY OF DEFAULT

       The Plaintiff, Mark Anthony Ortega, having filed a Complaint (ECF No. 1) on July 11,

2024, as well his First Amended Complaint (ECF No. 4) on July 22, 2024 and the Defendant

Fundcube Inc. D/B/A Fundqube (“FundQube”) having failed to plead or otherwise defend as

required by the Federal Rules of Civil Procedure, and the time for responding having expired;

       IT IS ORDERED, that the Clerk enter the default of the Defendant, FundQube.



           02/07/2025                               By: __________________________
                                                        Clerk of Court
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MARK ANTHONY ORTEGA
                  Plaintiff,
          v.
CARLOS HERRERA AND FUNDCUBE INC.                                   Case No. 5:24-cv-00769-XR
D/B/A FUNDQUBE,
                  Defendants.



           DECLARATION IN SUPPORT OF CLERK’S ENTRY OF DEFAULT

       I hereby certify that I, Mark Anthony Ortega, am the Plaintiff in the above cause, and that

Defendant Fundcube Inc. D/B/A Fundqube (“FundQube”) was served on September 25, 2024 as

evidenced by the Proof of Service. (ECF No. 8)

       I further certify that the defendant has failed to serve an answer or other responsive

pleading; the defendant is neither an infant (under age 21) nor an incompetent person; the

defendant is not in the active military service of the United States of America or its officers or

agents or was not six months prior to the filing of the case. Therefore, the Clerk is requested to

enter a default against said defendant.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Date: February 6, 2025                              Respectfully Submitted,

                                                    /s/ Mark Anthony Ortega
                                                    Mark Anthony Ortega
                                                    Plaintiff, Pro Se
                                                    mortega@utexas.edu
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                                                    San Antonio, TX 78270
                                                    Telephone: (210) 744-9663
